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                                                                    FILED: January 4, 2022

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                     ___________________

                                            No. 20-6075
                                   (5:09-cr-00025-KDB-DCK-1)
                                      ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        ALEJANDRO SALINAS GARCIA, a/k/a Alex

                     Defendant - Appellant

                                     ___________________

                                          ORDER
                                     ___________________

              The court grants counsel's motion to withdraw from further representation.

              Entered at the direction of the panel: Judge Wynn, Judge Thacker, and Judge

        Rushing.

                                              For the Court

                                              /s/ Patricia S. Connor, Clerk




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